19-10412-jlg          Doc 3    Filed 02/11/19        Entered 02/11/19 04:29:16    Main Document
                                                    Pg 1 of 16


WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
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Ray C. Schrock, P.C.
Sunny Singh

Proposed Attorneys for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
GREEN TREE CREDIT LLC,                                         :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
DITECH HOLDING CORPORATION,                                    :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
DF INSURANCE AGENCY LLC,                                       :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
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Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                    Pg 2 of 16


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In re                                                          :   Chapter 11
                                                               :
DITECH FINANCIAL LLC,                                          :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
GREEN TREE CREDIT SOLUTIONS LLC,                               :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
GREEN TREE INSURANCE AGENCY                                    :
OF NEVADA, INC.,                                               :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
GREEN TREE INVESTMENT HOLDINGS                                 :
III LLC,                                                       :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                    Pg 3 of 16


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In re                                                          :   Chapter 11
                                                               :
GREEN TREE SERVICING CORP.,                                    :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
MARIX SERVICING LLC,                                           :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
MORTGAGE ASSET SYSTEMS, LLC,                                   :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
REO MANAGEMENT SOLUTIONS, LLC,                                 :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
REVERSE MORTGAGE SOLUTIONS, INC., :                                Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
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Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                    Pg 4 of 16


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In re                                                          :   Chapter 11
                                                               :
WALTER MANAGEMENT HOLDING                                      :
COMPANY LLC,                                                   :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
WALTER REVERSE ACQUISITION LLC,                                :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                MOTION OF DEBTORS FOR ENTRY OF ORDER
      DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                    Ditech Holding Corporation (f/k/a Walter Investment Management Corp.) and its

debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors” or “Ditech”), respectfully represent as follows in support of this

motion (the “Motion”):

                                                  Background

                    1.        On the date hereof (the “Commencement Date”), the Debtors each

commenced with this Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.


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19-10412-jlg          Doc 3      Filed 02/11/19     Entered 02/11/19 04:29:16            Main Document
                                                   Pg 5 of 16


                    2.        The Debtors commenced these chapter 11 cases on a prearranged basis with

the support of more than 75% of their term loan lenders, who have committed to support a value-

maximizing chapter 11 plan that contemplates a debt-to-equity recapitalization transaction and

provides for the simultaneous marketing of all or substantially all of the Debtors’ assets to the

extent such sale represents a higher or better value than the recapitalization transaction. Consistent

with their obligations under that certain Restructuring Support Agreement, dated as of February 8,

2019, the Debtors intend to file a proposed plan of reorganization shortly hereafter and will seek

to emerge from chapter 11 on an expedited timeframe.

                    3.        Additional information regarding the Debtors’ business, capital structure,

and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Gerald A. Lombardo Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for

the Southern District of New York, sworn to on the date hereof (the “Lombardo Declaration”),

which has been filed with the Court contemporaneously herewith and is incorporated herein by

reference.1

                                                  Jurisdiction

                    4.        The Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January

31, 2012 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.




1
      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
      terms in the Lombardo Declaration.




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WEIL:\96913991\1\41703.0010
19-10412-jlg          Doc 3      Filed 02/11/19      Entered 02/11/19 04:29:16        Main Document
                                                    Pg 6 of 16


                                               Relief Requested

                    5.        By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors request entry of an order directing

joint administration of these chapter 11 cases for procedural purposes only.

                    6.        In addition, the Debtors respectfully request that the Court maintain one file

and one docket for all of the jointly administered cases under the case number assigned to Ditech

Holding Corporation, and that these chapter 11 cases be jointly administered under the following

consolidated caption:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :     Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                Case No. 19-[_____] (___)
                                                               :
                  Debtors.                                     :
                                                               :
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                    7.        The Debtors further request the Court’s direction that a notation

substantially similar to the following language be entered on the docket maintained by the Clerk

of the Court to reflect the joint administration of the Debtors’ chapter 11 cases:

                    An order has been entered in accordance with Rule 1015(b) of the
                    Federal Rules of Bankruptcy Procedure directing the procedural
                    consolidation and joint administration of the chapter 11 cases of
                    Ditech Holding Corporation; DF Insurance Agency LLC; Ditech
                    Financial LLC; Green Tree Credit LLC; Green Tree Credit
                    Solutions LLC; Green Tree Insurance Agency of Nevada, Inc.;
                    Green Tree Investment Holdings III LLC; Green Tree Servicing
                    Corp.; Marix Servicing LLC; Mortgage Asset Systems, LLC; REO
                    Management Solutions, LLC; Reverse Mortgage Solutions, Inc.;
                    Walter Management Holding Company LLC; and Walter Reverse
                    Acquisition LLC. The docket in Case No. 19-[_____] (___) should
                    be consulted for all matters affecting the cases.



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WEIL:\96913991\1\41703.0010
19-10412-jlg          Doc 3      Filed 02/11/19    Entered 02/11/19 04:29:16       Main Document
                                                  Pg 7 of 16


                    8.        Finally, the Debtors seek authority to file the monthly operating reports

required by the Operating Guidelines and Reporting Requirements for Debtors in Possession and

Trustees, issued by the Office of the United States Trustee for Region 2 (revised December 14,

2017) on a consolidated basis.

                    9.        A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                    Relief Requested Should Be Granted

                    10.       As set forth in the Lombardo Declaration, there are fourteen (14) Debtors

and more than 55,000 creditors and other parties in interest in these chapter 11 cases. Joint

administration will allow for the efficient and convenient administration of the Debtors’

interrelated chapter 11 cases, will yield significant cost savings, and will not prejudice the

substantive rights of any party in interest.

                    11.       Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors are all under

common ownership, and therefore are “affiliates” (as defined in section 101(2) of the Bankruptcy

Code) of Ditech. Accordingly, the Court is authorized to grant the relief requested herein.

                    12.       As set forth in the Lombardo Declaration, joint administration of these

chapter 11 cases will save the Debtors and their estates substantial time and expense by removing

the need to prepare, replicate, file, and serve duplicative notices, applications, and orders.

Furthermore, joint administration will relieve the Court of entering duplicative orders and

maintaining duplicative files and dockets. The United States Trustee for the Southern District of

New York and other parties in interest will similarly benefit from joint administration of these




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WEIL:\96913991\1\41703.0010
19-10412-jlg          Doc 3      Filed 02/11/19    Entered 02/11/19 04:29:16       Main Document
                                                  Pg 8 of 16


chapter 11 cases, as it will spare them from the time and effort of reviewing duplicative pleadings

and papers.

                    13.       Moreover, joint administration will not adversely affect the Debtors’

respective constituencies because this Motion only requests administrative – and not substantive

– consolidation of the Debtors’ estates. For example, any creditor may still file a claim against a

particular Debtor or its estate (or against multiple Debtors and their respective estates),

intercompany claims among the Debtors will not be affected by the relief requested herein, and

the Debtors will maintain separate records of assets and liabilities.

                                                    Notice

                    14.       Notice of this Motion has been provided to (i) William K. Harrington, U.S.

Department of Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York, New

York 10014 (Attn: Greg M. Zipes and Benjamin J. Higgins) (the “U.S. Trustee”); (ii) the Debtors’

five (5) largest secured creditors on a consolidated basis; (iii) the Debtors’ forty (40) largest

unsecured creditors on a consolidated basis; (iv) the Internal Revenue Service; (v) the United

States Attorney’s Office for the Southern District of New York; (vi) counsel to the Prepetition

Term Loan Agent, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York

10017 (Attn: Brian M. Resnick and Michelle M. McGreal); (vii) counsel to the Term Loan Ad Hoc

Group, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654 (Attn: Patrick J. Nash

and Gregory F. Pesce); (viii) Wilmington Savings Fund Society, FSB, as trustee under that certain

Indenture for 9.0% Second Lien Senior Subordinated PIK Toggle Notes due 2024, 500 Delaware

Avenue, Wilmington, Delaware 19801 (Attn: Corporate Trust, Walter Investment); (ix) counsel to

the Second Lien Ad Hoc Group, Milbank, Tweed, Hadley & McCloy LLP, 2029 Century Park

East, Los Angeles, California 90067 (Attn: Gregory A. Bray and Melainie K. Mansfield); (x)

counsel to Barclays Bank PLC, as DIP Agent, and Barclays Capital Inc., as DIP lender, Skadden,


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WEIL:\96913991\1\41703.0010
19-10412-jlg          Doc 3      Filed 02/11/19    Entered 02/11/19 04:29:16    Main Document
                                                  Pg 9 of 16


Arps, Slate, Meagher & Flom LLP, 4 Times Square, New York, New York 10036 (Attn: Sarah M.

Ward, Mark A. McDermott, and Melissa Tiarks); (xi) counsel to Nomura Corporate Funding

Americas, LLC, Alston & Bird LLP, 90 Park Avenue, 15th Floor, New York, New York 10016

(Attn: Karen Gelernt and Ronald Klein) and Jones Day LLP, 250 Vesey Street, New York, New

York 10281 (Attn: Ben Rosenblum); (xii) the Banks; (xiii) the Securities and Exchange

Commission; (xiv) counsel to Fannie Mae, O’Melveny & Myers LLP, 400 South Hope Street, 18th

Floor, Los Angeles, California 90071 (Attn: Stephen Warren, Jennifer Taylor and Darren Patrick);

(xv) counsel to Freddie Mac, McKool Smith PC, 600 Travis St., Suite 7000, Houston, Texas 77002

(Attn: Paul D. Moak); and (xvi) U.S. Department of Housing and Urban Development, 451

Seventh St., SW, Room 9250, Washington, DC 20410 (Attn: Lisa Mulrain, Assistant General

Counsel, Office of General Counsel, Finance Division) (collectively, the “Notice Parties”). The

Debtors respectfully submit that no further notice is required.

                    15.       No previous request for the relief sought herein has been made by the

Debtors to this or any other Court.

                    WHEREFORE the Debtors respectfully request entry of an order granting the relief

requested herein and such other and further relief as the Court may deem just and appropriate.

Dated: February 11, 2019
       New York, New York

                                              /s/ Sunny Singh
                                              WEIL, GOTSHAL & MANGES LLP
                                              767 Fifth Avenue
                                              New York, New York 10153
                                              Telephone: (212) 310-8000
                                              Facsimile: (212) 310-8007
                                              Ray C. Schrock, P.C.
                                              Sunny Singh

                                              Proposed Attorneys for Debtors
                                              and Debtors in Possession



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                                               Pg 10 of 16


                                               Exhibit A

                                          Proposed Order




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19-10412-jlg          Doc 3    Filed 02/11/19       Entered 02/11/19 04:29:16     Main Document
                                                   Pg 11 of 16


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :   Chapter 11
                                                               :
GREEN TREE CREDIT LLC,                                         :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
DITECH HOLDING CORPORATION,                                    :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
DF INSURANCE AGENCY LLC,                                       :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
DITECH FINANCIAL LLC,                                          :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
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Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                   Pg 12 of 16


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In re                                                          :   Chapter 11
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GREEN TREE CREDIT SOLUTIONS LLC,                               :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
GREEN TREE INSURANCE AGENCY                                    :
OF NEVADA, INC.,                                               :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
GREEN TREE INVESTMENT HOLDINGS                                 :
III LLC,                                                       :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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In re                                                          :   Chapter 11
                                                               :
GREEN TREE SERVICING CORP.,                                    :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
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Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                   Pg 13 of 16


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In re                                                          :   Chapter 11
                                                               :
MARIX SERVICING LLC,                                           :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
MORTGAGE ASSET SYSTEMS, LLC,                                   :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
REO MANAGEMENT SOLUTIONS, LLC,                                 :   Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :   Chapter 11
                                                               :
REVERSE MORTGAGE SOLUTIONS, INC., :                                Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
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Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                   Pg 14 of 16


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In re                                                          :     Chapter 11
                                                               :
WALTER MANAGEMENT HOLDING                                      :
COMPANY LLC,                                                   :     Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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                                                               :
In re                                                          :     Chapter 11
                                                               :
WALTER REVERSE ACQUISITION LLC,                                :     Case No. 19-[_____] (___)
                                                               :
                  Debtor.                                      :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
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ORDER DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

                    Upon the Motion (the “Motion”)1 of Ditech Holding Corporation and its debtor

affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), for entry of an order directing the joint administration of

the Debtors’ related chapter 11 cases for procedural purposes only, all as more fully set forth in

the Motion; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference M-

431, dated January 31, 2012 (Preska, C.J.); and consideration of the Motion and the requested

relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having


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      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
      terms in the Motion.




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19-10412-jlg          Doc 3      Filed 02/11/19     Entered 02/11/19 04:29:16         Main Document
                                                   Pg 15 of 16


been provided to the Notice Parties, and such notice having been adequate and appropriate under

the circumstances, and it appearing that no other or further notice need be provided; and the Court

having reviewed the Motion; and the Court having held a hearing to consider the relief requested

in the Motion (the “Hearing”); and upon the Lombardo Declaration, filed contemporaneously with

the Motion, and the record of the Hearing; and the Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and it

appearing that the relief requested in the Motion is in the best interests of the Debtors, their estates,

creditors, and all parties in interest; and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor,

                    IT IS HEREBY ORDERED THAT

                    1.        The Motion is granted to the extent set forth herein.

                    2.        The Debtors’ chapter 11 cases are hereby consolidated for procedural

purposes only and shall be jointly administered by the Court.

                    3.        Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting the substantive consolidation of any of the Debtors’ chapter 11 cases.

                    4.        The caption of the jointly administered cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :    Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                               Case No. 19-[_____] (___)
                                                               :
                  Debtors.                                     :
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19-10412-jlg          Doc 3      Filed 02/11/19     Entered 02/11/19 04:29:16         Main Document
                                                   Pg 16 of 16


                    5.        A docket entry shall be made in the chapter 11 cases of Ditech Holding

Corporation; DF Insurance Agency LLC; Ditech Financial LLC; Green Tree Credit LLC; Green

Tree Credit Solutions LLC; Green Tree Insurance Agency of Nevada, Inc.; Green Tree Investment

Holdings III LLC; Green Tree Servicing Corp.; Marix Servicing LLC; Mortgage Asset Systems,

LLC; REO Management Solutions, LLC; Reverse Mortgage Solutions, Inc.; Walter Management

Holding Company LLC; and Walter Reverse Acquisition LLC substantially as follows:

                    An order has been entered in accordance with Rule 1015(b) of the
                    Federal Rules of Bankruptcy Procedure directing the procedural
                    consolidation and joint administration of the chapter 11 cases of
                    Ditech Holding Corporation; DF Insurance Agency LLC; Ditech
                    Financial LLC; Green Tree Credit LLC; Green Tree Credit
                    Solutions LLC; Green Tree Insurance Agency of Nevada, Inc.;
                    Green Tree Investment Holdings III LLC; Green Tree Servicing
                    Corp.; Marix Servicing LLC; Mortgage Asset Systems, LLC; REO
                    Management Solutions, LLC; Reverse Mortgage Solutions, Inc.;
                    Walter Management Holding Company LLC; and Walter Reverse
                    Acquisition LLC. The docket in Case No. 19-[_____] (___) should
                    be consulted for all matters affecting the cases.

                    6.        The Debtors may file their monthly operating reports required by the

Operating Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued

by the Office of the United States Trustee for Region 2 (revised December 14, 2017), by

consolidating the information required for each Debtor in one report.

                    7.        The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Order.

                    8.        The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Order.


Dated:                                , 2019
          New York, New York

                                                     UNITED STATES BANKRUPTCY JUDGE



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